           Case 1:20-cv-00271-JMF Document 64 Filed 12/29/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                        :
 TAPESTRY, INC. et al.,                                                 :
                                                                        :
                                              Plaintiffs,               :    20-CV-0271 (JMF)
                                                                        :
                            -v-                                         :        ORDER
                                                                        :
 CHUNMA USA, INC. et al.,                                               :
                                              Defendants.               :
                                                                        :
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JESSE M. FURMAN, United States District Judge:

        On December 28, 2020, Defendants filed a motion to dismiss the First Amended
Complaint under Rule 12(b) of the Federal Rules of Civil Procedure. Under Rule 15(a)(1)(B), a
plaintiff has twenty-one (21) days after the service of a motion under Rule 12(b) to amend the
complaint once as a matter of course.

       Accordingly, it is hereby ORDERED that Plaintiffs shall file any amended complaint by
January 18, 2021. Plaintiffs will not be given any further opportunity to amend the complaint to
address issues raised by the motion to dismiss.

        If Plaintiffs do amend, by three (3) weeks after the amended complaint is filed,
Defendants shall: (1) file an answer; (2) file a new motion to dismiss; or (3) file a letter on ECF
stating that it relies on the previously filed motion to dismiss. If Defendants file an answer or a
new motion to dismiss, the Court will deny the previously filed motion to dismiss as moot. If
Defendants file a new motion to dismiss, any opposition shall be filed within fourteen days, and
any reply shall be filed within seven days of any opposition.

       If no amended complaint is filed, Plaintiffs shall file any opposition to the motion to
dismiss by January 18, 2021. Defendants’ reply, if any, shall be filed by January 25, 2021.

        SO ORDERED.

Dated: December 29, 2020                                   __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
